               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:13cr22-RLV


UNITED STATES OF AMERICA                )
                                        )
                                        )
            vs.                         )             ORDER
                                        )
DENNIS WAYNE PARRIS                     )


      THIS MATTER is before the Court upon Defendant’s Joint Motion For Proposed

Peremptory Setting, filed on December 10, 2013. (Doc.#50)

      Represented in the Defendant’s Joint Motion:

         1. This matter involves three defendants;

         2. The discovery is complex and voluminous; with documents currently

            exceeding 1.8 million;

         3. A previous peremptory setting was scheduled for December 3, 2013;

         4. The trial is said to last approximately 3 weeks;

         5. This matter was again continued to the January 2014 term;

         6. The current Motion before the Court ask for a peremptory trial date of

            January 27, 2014, with jury selection on January 7, 2014;

         7. If a peremptory trial setting is denied, the Defendant requests this matter

            be continued until the March 2014 trial term, and a Status Conference be

            scheduled;

         8. The Government objects to a continuance to March 2014;

         9. Defendant McKeown’s counsel does not oppose this motion;

         10. Defendant Sparrow’s counsel opposes any setting during the January

            2014, term & requests the trial be set in March 2014.

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       Upon Reviewing the Defendant’s Joint Motion, the Court feels that a

continuance is warranted rather than a peremptory setting.

       Therefore, the reasons stated in the Defendant’s Joint Motion and upon a

showing that defense counsel has not had sufficient time within which to adequately

prepare in this case, taking into account the exercise of due diligence, the Court will

allow the continuance. 18 U.S.C. § 3161(h)(8)(B)(iv). The Court further finds that the

ends of justice served by taking such action as requested by the Defendant outweigh

the best interest of the public and the Defendant to a speedy trial.

       IT IS, THEREFORE, ORDERED that the Defendant’s Joint Motion for a

Peremptory Setting is DENIED. IT IS, FURTHER ORDERED that this matter is

continued from the January 6, 2014, criminal trial term in the Statesville Division to the

March 3, 2014, criminal term in the Statesville Division, and that the Clerk’s Office

schedule a Status Conference in this matter for February 3, 2014 at 10AM, at the

Statesville Courthouse in Statesville, North Carolina.



                                     Signed: December 11, 2013




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